Case 1:14-cv-13154-|T Document 1-1 Filed 07/29/14 Page 1 of 10

EXHIBIT A

NOTICE TO Dl“`.FENDANT ~ ‘r`uu need crux appear personally m court to answer the rumpluim‘ but if you claim m have a dch:nsc. either you ur your

iumm¢y must serve a copy ul` your wrihcn answer within 20 days as specith herein and also file the original in the Cler¥.`s Ut`licc

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(TO PLAlNTlFF'S ATTORNEY: Plea.se Cirr!e Type ofArt:`o/i lhvolved: - TORT - MOTOR VEH!CLE TORT ~
CDNTRACT - EQUlTABLE REL|EF - OTHER.)
C<)MMQNWEALTH or MASSACHUSETTS
ESSEX.S& , SUPERlORCO{_/'RT
` CIVILACI'!ON
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c%cj$LWC“F’Hi¢LéC»-f€/L‘\] . Del`endam(s)

SUMMONS
'l`n the above named Del`endam: girls s"lw J&yd 1 )w/ _ Cz.'- G‘ 4
You are hereby summnncd and required in serve upon 7>»°7\»° 2 g ¢G'MM »' >

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plainlil`f's attorney whose address is 19 0 501 761 L? 5:,__¢“‘?{'~'0 ~,4'--j /"Ffi' O?»¢ 73:. an answer 10 the
complaint which is herewith served upon you\ within 20 days ul`icr service r)l`ihis summons upon ynu. exclusive rif the

day of scrvii:c. ll you fail m do zin. judgment by dcfaull will he taken against you for the relief demanded in the

enmplainl. Ynu are also required 10 file your answer w :he cumpluim in the office of the Clerk l)|` this court at

/U¢\L)Lé)ur(?l§o /‘V eilth before service upon plainxil`l"s annrney er wilhin a reasonath lime zhereal`ler.

Unless ulherwisu provided hy Ruic l3 (;1). yiqu answer must stale us n counterclaim any claim which you may

have against the plaintiff which arises mci of the lransnciiun or r)ccurrencc that is the subject muller of the plainiir`l"s
claim or you will ihi:rcnl‘ier he barred from making such claim in any mhcr action

WITNESS, BARBARA J` ROUSE ,Esquire, al Salcm, the
day ol` . in the year of our Lord two thousand

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'/-j%}//? §§ Depu‘iy Sheri{r Suffolk COU "'1' ` %

M
Ci'erk .

N(')TES:
l` 'l`his summons is issued pursuant m l{ule 4 of the Massncliusctts Rules of Civil Proci:durc.

2. When more \h;m unc defendant is iiwolved. \hc names of all defendants Should appear in inc caption ll n separale summons is used for each
dei'cndunz. such should he addressed m the paniculnr del`cr\dnm.

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PROOF OF SERVICE OF PROCESS

I hereby certify and return that on__,____,__,._____,_____._,__, 20 , I served a copy of
the within Summens, together with a copy of the complaint in this nction, upon the wirhin»named
defendant, in the following manner (see Mass, R. Civ. P. 4 (d) (l-S):

 

 

 

 

Dated: , 20

N.B. TO PROCESS SERVER:-
PLEASE Pl.ACE DATE YOU MAKE SERVICE ON DEFENDANT IN
Ti-IIS BOX N H ORI "JAL Ai ON C PY SERVED N D FENDANT.

 

 

 

 

 

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COMMONWEAL'IH OF MASSACHUSE'ITS

 

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contents GRAHAM,
Plaintiffs,
' v_
No.

CENTRAL MOTORS, lNC. OF NOR-
WOOD, AND CHRYSLER CAPITAL,
LLC,

 

Defendants,

 

Tne Plaintiff, Colleen Greham, brings the following complaint for damages and
equitable reliet`. 'l`he Del"endants engaged in unlawful and predatoryt lending conduct
against Ms. Graham, including charging a usurious interest rate and engaging in unfair

and deceptive conduct to induce the finance agreement

PARTIES
l_ "Ilze Plaintiff, C-olleen Graham, is an individual who resides at 6 Perr_y. Street,
North Andover, Ma.ssachusetts.
2. Tne DefendanL Central Motors, lnc. of Norwood ("‘Central Motors”), is a domes-

tic corporation having its principal place of business at 56 Boston Providencc
Tumpike, Norv~’ood, MA 020624 Central Motors has designated Peter Catanese at
38 Brookfield Road, Dover, MA 02030 as its registered agent

L¢.)

Tne Defendant, Chrysler Capitali LLC (“Chrysler Capital"} is _a foreign limited
liability company having its principal place of business at 1000 Chrysler Drive,
Auburn Hills, MI 48326.

FACTS

4. On or about May 22, 2013, Ms. Graham entered into a Retail Installment Sales
Contraet (“l;`inance agreement") with Central Motors. The agreement was entered
to purchase a 2012 leep Wrangler, VIN# lC4AJWAG3CLl47397 (‘Wehicle”). As
a result of the transaction Ms. _Graham became the owner'of the Vehicle and
Centml Motors acquired a security interest in it.

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Ms. Graham purchased the vehicle for the personal and family use

At the time of the purchase, Ms. Graham had no experience with the purchase of
an automobile or the extension of credit Central Motors Was aware of Ms. Gra-

ham’s inexperience at the formation of the finance agreement

The finance agreement required Ms. Graham pay $19,978.64 in finance charges
on a principal amount of $25,547.00. The interest on the linance agreement is 21

percent Central Motors was indicated as the creditor ofthe finance agreement

Central Motors exploited Ms, Graham"s inexperience to induce the execution of
the finance agreement

Central Motors was not licensed as a motor vehicle sales finance company with
the Massachusetts Commissioner of Banks at the time of the formation ot` the
finance agreement Central Motors failed to disclose it was not licensed to Ms.
Graham.

At some time after the execution of the finance agreement, Central Motors as-
signed the agreement to Chrysler Capital.

As a proximate resth of the Defendants’ actions, Ms. Graham has suffered eeo-
nomic and emotional damages, including, but not limited to, the cost of the fi~

nance agreement, extreme embarrassment, shame, anxiety, and mental distress
COUNT l - TRUTH lN LENDING ACT

Plaintiff herebyl incorporates the preceding allegations as if fully rewritten herein

Central Motors extended a loan deemed usurious under GLc. 271, § 49.

Central Motors was required to prepare and provide cost of credit disclosures
prior to the consummation of the finance agreement pursuant to the federal Truth
in Lending Act, 15 U.S.C. § l601, et scq., and state Consumer Credit Cost Dis-
closure Act, GLc. 14OD.

In Ms. Graham`s finance agreement, Ccntral Motors failed to disclose clear and
accurate Tmth in Lending disclosures notifying her of material terms of the loan
transaction, including but not limited to, an accurate disclosure of her finance

charges, amount financed, and annual percentage rate.

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COUNT ll - UNIFORM COMMERCIAL CODE
Plaintilt hereby incorporates the preceding allegations as if fully rewritten herein

GLc, 106, § 9-201 requires a security agreement comply with all other applicable

consumer protection and other laws governing the transaction
Central Motois charged a usurious interest rate under Gl..c. 271__ § 49.

Central Motors failed to obtain a motor vehicle sales finance company license in
violation of GLc. 2553? § 2.

Central Motors failed to make clear and accurate disclosures of the material
terms of the loan transaction to Ms. Graham in violation of federal and state
Truth in Lending Acts.

As a result of Central Motor’s non-compliance with applicable laws, it failed to
comply with GI,c. 106, Article 9. Ms. Graham is entitled to statutory remedies
under GLc_ 106, § 9-625.

COUNT III - UNFAIR AND DECEPTIVE TRADE PRACTICES ACT
Plaintiff` hereby incorporates the preceding allegations as if fully rewritten herein

Pursuant to GLc. 106, § 2-103(1)(b) and GLc. 106, § 9-102(a)(43), Central Mo-
lots owed a duty of good faith to Ms` Graham.

Central Motors breached this duty by charging an unconscionable and unlawful
interest rate for the Vehicle, preying on Ms. Graham’s inexperience to induce the
contract and failing to obtain proper licensing to amend the finance agreement

As a result of the Defendants’ actions, Ms. Graham has suffered economic and
emotional damages

COUNT lV - NEGLIGENCE
Plaintii`f hereby incorporates the preceding allegations as if fully rewritten herein

Pursuant to GLc. l06, § 2-103(1)(b} and GLe. 106_. § 9-102(a)(43), Cential Mo-
tch owed a duty of good faith to Ms. Graham.

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23. Central Motors breached this duty by charging an unconscionable and unlawful
interest rate for the Vehicle, preying on Ms. Graliam"s inexperience to induce the
eontract, and failing to obtain proper licensing to extend the finance agreement

29. As a direct and proximate result of the Defendants’ actions, Ms. Gxaham has suf-

fered economic and emotional damages
COUNT V ‘ FTC HOLDER RULE
30. Plaintiff hereby incorporates the preceding allegations as if fully rewritten herein

31. In the finance agreement, Central Motors included the following notice: “ANY
HGLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL
CLAIMS AND DEFENSES WHICH THE DEBTOR COULD ASSERT
AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PUR-
SUANT HERETO 0R WI'!`H THE PROCEEDS HER.EOF. RECOVERY
HEREUNDER BY 'I'EH DEBTOR SHALL NOT E`XCEED AMOUNTS PAlD
BV THE DEBTOR HEREUNDER."

32. Pursuant to the above notice, and 16 C.F.R. Part 433, Chr~ysler Capital is liable
for any claims against Central Motors_

COUNT VI ~ RETAIL H\ISTALLMENT SALES OF MOTOR VEHICLES ACT
33. Plaintiff hereby incorporates the preceding allegations as if fillly rewritten herein

34. Pursuant to GLc. 2553, § 19A “'Ilie holder of a retail installment contract or oth-
er person acting in his behalf, shall be subject to all defenses, real and personal,
which the retail buyer may have against the retail seller thereof.”

35. Central Motors failed to obtain a motor vehicle sales finance company license in
violation ofGLc. 255B, § 2_

36. Central Motois induced Ms. Gra.ham into financing the agreement in spite its
failure to be properly licensed

37. As a resnlt of Cencral Motors failure to comply with the statute, Chrysler Capiral
must be barred from the recovery of any finance charge, delinquency or collec-

tion charge on the finance agreement

WHEREF()RE, Plaintii¥ prays for the following relief:

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A. ()rder the Det`endants to rescind the sale of the vehicle and return any amounts l

paid by the Plaintiff on the finance agreement;

B.~ Permanently enjoin the Defenclants from recovery of any finance charge, delin-
quency or collection charge on the finance agreement;

C. reward actual damages to be established at trial;
D. Award double or treble plaintiffs actual damages established at trial;

E. Award statutory damages in the amount twice the §nance chaige, not to exceed
$5,000, pursuant to 15 U.S.C. § léOl and GLc. l40D, § 32.

F Award statutory damages in the amount not less than the finance charges plus 10
percent ofthe principal amount, pursuant to Glc. 106, § 9-625_

G. Award statutory damages in the amount of 3500, pursuant to GLc_ 2553, § 21,

H. Award plaintiE costs and attorney fees_; and
l. Award such other relief as the court deems appropriate
JURY DEMAND

The Plaintitf demands a trial by jury on all appropriate issues

Dared; @/LM §s§;eur;:;iy Submirre<i,

     

/ jr 6
was Beauvais, Esq.
BBO# 679996
PO Box 761235
Melrose, MA 02176
(781) 462-1669
thomas@beauvaislegal.com

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Pi.nin'rii=i=(s} C°lleen Graham'\ nEFEnoAnT¢s) central Moiors, in¢. of unmood, and

Chryiser Capital, Ll.C

 

 

 

 

, Type Defendant‘s Attorney Name

 

Plaintiff Atty {Thom as Beauvais

 

Defendant Atlyl
Address l

city |M€lw$@ ' estate W zip code |02176 4 Criy l - state l__ zip code j
Te|,l 7814621669 1 BB@# 679996

TYPE ()F ACTION AND TRACK DESIGNATION (See reverse side)
CODE N'O. TYPE OF ACTION (spccil`y) 'I`R.ACK IS THJS A JURY CASE?

@ ives 01 no

 

 

Address lPO Boi< 761235

 

 

 

 

 

ASB Other (specify ) - Fast Track

 

The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine
money damages For this form, disregard double or treble damage claims; indicate single damages only.

 

IQBI_CLALMS
_ (Attach additional sheets as necessary)
A. Documented medical expenses to date:

1. Total hospital expenses $
2. Total doctor expenses S
3. Total chiropractic expenses $
4. Total physical therap expenses $
5. Total other expenses describe) 5
Subtotal $
B. Documented lost wa es and compensation to date $
C. Documented proper damages to date S
D. Reasonably anticipated future medical expenses S
E. Reasonably amici titled lost wages and compensation to date 3 j
F. Other documente items of damages (describe)
G. Briel` description of plaintifl`=s injury, including nature and extent of injury (describe)

'_l`otal 5

 

§QHIRAQI§LALM.§
. _ (Attach additional sheets as necessary)
Provide a detailed description of claim(s):

Economic loss and statutory damages for violations of Truth in l_ending Act, UCC, 93A,
breach of duty of good faith, and retail installment sales of motor vehicle act

 

TOTAL $:.3].’.82.5'.3.0

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PLEASE IDENTIFY, BY CASE NUMBER. NAME AND COUN'IY, ANY RELATED ACTION PENDING IN THE SUPER.IOR
COURT DE}’A`RTMENT

 

 

Supreme Judicial Court Unifonn Rules on Dispuce Resolution (SJC
court-connected dispute resolution services and discuss with them the

-‘ \`_ gate 612/2014

  
   

ill hereby certify that I have complied with the requirements of Rule

Rule 1118) requiring that I provide my clients with lnfo '

advantages and disadvantages of the various metho .
Slgnatiire of Attorney of Rccord
A.O.S.C. 3~2007

 

 

 

CiVil. ACT|ON COVER SHEET |NSTRUCTiONS
SELECT CATEGORY THAT BEST DESCR|BES YOUR CASE

* CONTRACTS

* REAL PROFERTY

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MISCELLANE°US

 

 

A01 Services, Labor and Materials F) 001 Land Taking (eminent domain) (F) |E02 Appeai from Administmtive
A02 Goods Sctd and Delivei'ed (F) 002 Zoning Appeal. G..L c.40A (Fi Agency G.L. c. 30A (X
A03 Commercla| Paper (F) 003 Dtspute concerning title (Fi 503 claims against Cmm°nwea“h
Aos sale oz Lease of Real Estate iFl 004 Fore¢los_uf_e of mortgage 00 or Muni¢ipamy (A
A12 Constructlon Dispute (A| 005 Condomtmum Lien & Charges tX) Eos continuation of Arhman°n Awards ‘x
A99 Oth_er tSpee'fyi tFi 699 th_er tSpe€'fvl iFi Eov Gi.. c.112, s.1zs (Mary Moe) ix
503 Claims against Commonweatth (A) E03 Ctaims_a_gainst commonwealth (A) 503 Appom¢ment of Receiver ‘x
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, saurraei.s nsm£oiss G'l" °' “°' sa 29' 29° iA
.TCRT 001 specinc performance or contract iA) E" W°"‘°"S C°"'Pe"$°"°" tX
Doz Rea¢h and Appiy (F} E12 G.L.c.123A. s.12 (SDF Comm|tment) (X
B°a M°‘°' v°'“F'° "°9"9°"°° ‘F) cce contribution or indemnmcation (F) 514 G.L. c. 123A. s. s isoP Petmoni
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804 other "°g"g°"°°` m nos Minomy stockholders sun int ` ` ` ' (
personal lnjury/prope¢ty damage 010 Acc°unung (A) E16 AUXO Sl.l|'Chal’ge Appeal ()
805 Products Liabltity (A| ma msso|uu°n of Pannefship en Et`l Clvll Rights Act. G.L. c.12, s. 111-l (A
503 Ma|PfaC\i¢¢-M¢dl¢a\- iAi 013 Declaratory Judgment G.L. c. 231A (A) me F°'e'g" D's°°very P'°°°°dmg ix
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808 Wrongiu| Death, G.L. c.229. s.ZA (A) 5- 3 (X
815 Defamation (Libei.siande¢t (A) Ez‘l Protection from Harassment c 2585 tx
818 Asbestos (A) E25 P|urai Reglstry ¢Asbestos casesi
820 Fersonal lnjury- slip 8. fall (F) E95 ”Forfeiture G.L. c. 940, s. 47 (F
821 Envtronmentai (F) 596 Prisoner Cases (F
822 Emptoyment Discriminatton (Fi E97 Pnsoner Habeas Corpus (X
399 other tspecity) u=i Ess other isp¢ciryi ix
iE03 Claims against Commonweaith (A)

 

 

 

*Claims against the Commonwea|th or a municipality are type E03, Average Track, cases.
**C|aims filed by the Commonwealth pursuant to G L c 94C, s 47 Forfeiture cases are type
E95, Fast track. '

TRANSFER YOUR SELECT|ON TO THE FACE SHEET.

EXAMPLE:
CODE NO. T¥PE OF ACTtON (SPECIFY) TRACK
803 Motor \/ehicie Negligence-Persona| injury (F)
SUPER|OR COURT RULE 29

IS THIS A JURY CASE?

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DUTY OF THE PLAlNTIFF. The plaintiff or his/her counsel shall set forth. on the face sheet (or attach additional sheets as necessary), a
statement specifying in full and itemized detail the facts upon which the plaintiff then relies as constituting money damages A copy of such civil
action cover sheei, including the statement as to the danages, shall be served on the defendant together with the complaint li a statement ct money
damages where appropriate is not filed, the Clerk-lillagistrate shall transfer the action as provided in Ruie 29(5)(€).

DUT¥ OF THE DEFENDANT. Should the defendant believe the statement of damages tiled by the plaintiff in any respect inadequate he
or his counsel may tile with the answer a statement specifying in reasonable detail the potential damages which may result should the plaintiff
prevail Such statement ii any, shall be served with the answer.

A C|ViL ACT|ON COVER SHEET MUST BE F|LED WlTH EACH COMPLA|NT,

FA|LURE i_'O COMPLEI'E THiS COVER SHEET THOROUGHLY AND ACCURATELY
MAY RESULT IN D|SMISSAL OF TH|S ACT|ON.

